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May 9, 2018
VIA ECE

The Honorable Justice Roberto A. Rivera-Soto (ret.)
Special Discovery Master

Ballard Spahr LLP

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Cherry Hill, New Jersey 08002-1163

RE: Kimberlee Williams, et al. v. BASF Catalysts LLC, et al.
Civil Action No. 11-cv-01754 (JLL) (JAD)

Dear Justice Rivera-Soto:

Plaintiffs submit this reply to Engelhard/BASF’s Motion for a Protective
Order precluding the depositions of Leo Lippens, John Poling, Sandy Noble and
Jesse Pagonis. See ECF 507. For months, BASF has known of Plaintiffs’ intent to
depose individuals with knowledge relating to the company’s insurance program and

insurance claims, particularly Mr. Lippens and Mr. Pagonis. BASF failed to object

isylvania Limited Liability Partnership

California Colorado Connecticut Delaware District of Columbia Florida
Illinois Nevada New Jersey New York Pennsylvania Texas
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to the depositions of Mr. Lippens and Mr. Pagonis until this Motion for a Protective
Order.

All of these witnesses were involved in the relationship between
Engelhard/BASF (“BASF”) and its insurers, and have relevant and important
information about what the company told its broker and insurers about its operations
and Emtal talc, how and who reported claims to the insurers, what the company and
Cahill told the insurers about the claims filed by members of the putative class, and
positions taken by the company and Cahill in the defense, dismissal or settlement of
claims.

Mr. Lippens was the senior representative of Marsh & Co, BASF’s insurance
broker, which represented the company in the placement of its insurance and its
relationships with its insurance carriers. He knows the details of how Cahill provided
notices of claims to insurers and its relationship with Mr. Pagonis. Mr. Lippens will
also testify that Mr. Pagonis played a unique and active role in the process by which

Cahill gave notice of claims to the carriers. Messrs. Poling and Noble were, at

different times, the relationship managers at Marsh. A relationship manager is the
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individual assigned by Marsh to address issues, problems, handling procedures, and
critically to shepherd BASF through the annual insurance policy application and/or
renewal process.

As such, the three Marsh representatives have knowledge of what
representations the company made to its existing and expected insurers in applying
for insurance, including information about its products and operations, the risks to
be insured by the carriers, the company’s loss history including past and present
asbestos claims, and incurred but not reported (IBNR) claims. The broker also
usually interfaces with the carriers on behalf of the company in the claims process.
The depositions of these Marsh employees are relevant and reasonably calculated to
lead to the discovery of admissible evidence about the disclosures the company made
to Marsh about known or expected risks during the insurance underwriting and
claims process.

As the company’s risk manager, Mr. Pagonis was intimately involved in the

insurance underwriting and renewal process from the company side and worked with

Cahill in providing Claims Notices to insurers. Mr. Pagonis knows the details of
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what BASF told its brokers and insurers regarding Emtal talc. Mr. Lippens also
knows the details of how Cahill Gordon—provided notices of claim and its
relationship with Mr. Pagonis. Mr. Lippens will also testify about the nature of the
relationship between Mr. Pagonis and Cahill with respect to communications with
the insurers. Mr. Pagonis and the Marsh witnesses are also expected to have
knowledge of the insurers’ inspection of the Johnson Mine and other company
facilities, and specifically the test performed by Royal Insurance in 1972 that found
fibrous material in Johnson Mine dust samples.

Defendant utterly fails to meet its burden of providing a particular factual
basis showing “extraordinary circumstances” that necessitate the prevention of these

depositions.' Plaintiffs are well within their rights to take these depositions before

the end of discovery.

 

The Third Circuit requires that a party seeking a protective order show a
specific factual basis for the order. Gutierrez v. Johnson & Johnson, 2002 U.S.
Dist. LEXIS 15418, *8 (D.N.J. Aug. 12, 2002) (emphasis added). When a protective
order is sought to prevent a deposition, a heightened showing is required. /d. at *8—
*9. “Indeed, absent extraordinary circumstances, it is an error for a court to prevent
the taking of a deposition.” /d.
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LEGAL STANDARD
Federal Rule of Civil Procedure 26 provides that a party

may obtain discovery regarding any nonprivileged matter
that is relevant to any party’s claim or defense and
proportional to the needs of the case, considering the
importance of the issues at stake in the action, the amount
in controversy, the parties’ relative access to relevant
information, the parties’ resources, the importance of the
discovery in resolving the issues, and whether the burden
or expense of the proposed discovery outweighs its likely
benefit. Information within this scope of discovery need
not be admissible in evidence to be discoverable.

Fed. R. Civ. P. 26(b)(1). Rule 26 is to be construed liberally in favor of disclosure,
particularly at the discovery stage. National Union Fire Insurance Company of
Pittsburgh, PA v. Becton Dickinson, 2018 U.S. Dist. LEXIS 14558, *11 (D.N.J. Jan.
30, 2018). The court may limit the frequency or extent of discovery otherwise
allowed by this rule if it determines: (1) the discovery sought is unreasonably
cumulative or duplicative; (2) the party seeking discovery has had ample opportunity
to obtain the information by discovery; or (3) the burden or expense of the proposed

discovery outweighs its likely benefit. Fed. R. Civ. P. 26(b)(2)(c).
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The purpose of the rule of proportionality is to guard against redundant or
disproportionate discovery. Campbell v. Detert, 2013 U.S. Dist. LEXIS 45981, *2
(D.N.J. 2013) (internal citations omitted). A party seeking a protective order bears
the burden of proving that good cause exists to limit or foreclose discovery. Fed. R.
Civ. P. 26(c). The moving party may show “good cause by demonstrating that
disclosure will cause a clearly defined and serious injury.” Campbell v. Detert, 2013
U.S. Dist. LEXIS 45981 at *23. However, “broad allegations of harm do not support
a showing of good cause, so the alleged injury must be supported by specific
examples and reasons.” /d. at *24.

ARGUMENT
The Depositions of Insurance Witnesses are Relevant and Proportional.

BASF, who has known about the Pagonis and Lippens depositions for months,
cannot belatedly show “extraordinary circumstances” necessary to prevent these
depositions. Engelhard/BASF had a number of insurers for risks in its business,

including bodily injury caused by its products. Information about the

communications among the company, Cahill, and the insurers with respect to the
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content of Emtal talc, the Johnson Mine, and the manner in which claims were
reported, defended, dismissed or settled are all relevant to and lie at the heart of the
Plaintiffs’ claims and damages. However, Engelhard/BASF claims to have very few
of its own historic insurance files. Engelhard/BASF’s insurers to date have produced
to Plaintiffs only a small smattering of their claims files and have produced almost
no underwriting files. Notably, the underwriting files are most important as the
underwriting process requires the policyholder to completely disclose all known or
suspected risks to insurance carriers.

The discovery sought is not unreasonably cumulative or duplicative.
Engelhard/BASF and Cahill witnesses have testified that Jesse Pagonis was the
internal risk manager for Engelhard/BASF during the class period. See Michael
Sullivan Transcript, March 23, 2018, 55:19-57:7, attached hereto as Exhibit “A.”
Michael Hassett, the company’s associate general counsel, testified that Engelhard
had essentially outsourced the legal defense of asbestos claims to Cahill as its

national defense counsel. See Michael Hassett Transcript, April 24, 2018, 83:20—

84:5, attached hereto as Exhibit “B.” Michael Sullivan, a Cahill paralegal, testified
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that claims handling and defense vis-a-vis insurers was generally discussed between
Cahill and Engelhard’s insurance broker, Marsh & Co (“Marsh”), and specifically
Leo Lippens. See Ex. A, Sullivan Transcript at 55:19-57:7. Further, according to
Mr. Sullivan, Mr. Pagonis would have the most knowledge about Engelhard’s
insurance programs and how claims were reported to the carriers. Id. Given that
these other company and Cahill witnesses have identified Mr. Lippens and Mr.
Pagonis as the persons with the most knowledge of the company’s risk management
and insurance claims process, Plaintiffs are entitled to directly ask Mr. Lippens and
Mr. Pagonis what they knew and did.

Following the discovery on March 23 of Mr. Pagonis and Mr. Lippens’ role
in the processing of insurance claims, Plaintiffs forwarded the Notice and Subpoena
directed to Leo Lippens and the Notice of Videotaped Deposition directed to Jesse
Pagonis to counsel for BASF on April 3, 2018. See April 3, 2018 e-mail to Defense
Counsel, attached hereto as Exhibit “C.” On April 25, 2018, Plaintiffs were also

advised by Mr. Lippens that Sandy Noble, and later John Poling, were the

relationship managers for Marsh managing the insurance coverage for
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Engelhard/BASF. After speaking with Mr. Lippens on April 25, 2018, Plaintiffs
issued a subpoena for Mr. Noble and Mr. Poling, and forwarded the same to defense
counsel on May 3, 2018. See May 3, 2018 E-mail to Defense Counsel, attached
hereto as Exhibit “D.”

Plaintiffs never had the opportunity to obtain the information sought from the
Marsh witnesses and Mr. Pagonis elsewhere. Plaintiffs wish to depose these
witnesses to discover information with respect to the placement and underwriting of
Engelhard/BASF’s insurance and what information it supplied to and received from
its insurers with respect to Emtal talc and the operation of the Johnson Mine,
including test samples of talc, loss prevention, safety engineering, estimated losses
and defense costs, settlement of claims, and incurred but not reported (INBR) claims.
Plaintiffs also want the complete “loss runs,” which are compendious reports listing
by date or name all claimants against BASF.

Plaintiffs’ right to this discovery is also necessitated by the fact that

Engelhard/BASF has failed to provide substantive responses on these issues to
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Plaintiffs’ Third Set of Interrogatories, which will be the subject of a forthcoming
Motion to Compel.

Defendants Suffer No Undue Burden from Two Days of Depositions Before
the End of Discovery

Engelhard/BASF has no basis to argue that these depositions are untimely or
would cause undue burden, particularly considering BASF’s role in delaying
production of insurance information necessary to this case, and specifically these
depositions. Engelhard/BASF’s blanket assertions of general harm and expense are
not sufficient to meet their burden of showing “extraordinary circumstances.”
Campbell vy. Detert, 2013 U.S. Dist. LEXIS 45981 at *24. Furthermore,
Engelhard/BASF never provides a specific factual basis to show that Plaintiffs
should be prevented from taking these timely and completely relevant depositions.
Gutierrez v. Johnson & Johnson, 2002 U.S. Dist. LEXIS 15418, *8 (D.N.J. Aug. 12,
2002). Contrary to their assertions, the facts show that Plaintiffs are entirely within

their right to depose the witnesses.
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Plaintiffs are requesting just two days to depose four witnesses.
Engelhard/BASF has known for months of Plaintiffs’ intent to depose individuals
who can testify as to coverage issues. On November 27, 2017, Plaintiffs issued
subpoenas to various insurance carriers related to this case. On December 8, 2017,
Plaintiffs, BASF and insurance counsel had a meet and confer dealing with
objections and concerns regarding Plaintiffs subpoenas. See Pollock letter to
Insurance Counsel for BASF, December 11, 2017, attached hereto as Exhibit “E.”
Plaintiffs emphasized that they are not seeking the insurer’s financial information.
Further, Plaintiffs agreed to postpone discussions of any assertion of attorney-client
privilege or the work product doctrine. Id. Plaintiffs and BASF have had two
subsequent meet and confers on February 6, 2018, and April 27, 2018. We began to
receive the insurance production on a rolling basis after months of delay by the
carriers and then by BASF, which further delayed production by requiring an

opportunity to review and produce a privilege log. See E-mail chain regarding
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insurance production, attached hereto as Exhibit “F.”? To date, Plaintiffs have not
received all insurance documents responsive to their request. Plaintiffs finally began
to receive some insurance materials on April 9th, but were required to get a vendor
to produce the thousands of individual PDFs, none of which were indexed or
organized by topic, and then read and review the documents.

Following Mr. Sullivan’s testimony on March 23 about Mr. Pagonis’ and Mr.
Lippens’ role in the processing of insurance claims, Plaintiffs forwarded the Notice
and Subpoena directed to Leo Lippens and the Notice of Videotaped Deposition
directed to Jesse Pagonis to counsel for BASF on April 3, 2018. See Ex. C. On
April 19, 2018, Plaintiffs’ counsel e-mailed Mr. Farrell discussing the scheduling of
Jesse Pagonis’ and Leo Lippens’ deposition on May 7. See April 19, 2018, E-mail
exchange, attached hereto as Exhibit “G.” On May 2, after engaging with Plaintiffs’
counsel in a number of e-mails concerning the slow pace of the Carriers’ production,

Mr. Farrell again acknowledged the ongoing discussions regarding scheduling Mr.

 

? Plaintiffs will be filing a separate briefing objecting to this claim of privilege.
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Pagonis’ and Mr. Lippens’ depositions. See May 2, 2018 E-mail Exchange, attached
hereto as Exhibit “H.”

We are not asking for additional time. We are asking for what BASF
knew all along was coming—two days of depositions. BASF cites to several cases
wherein a protective order was granted when subpoenas were issued close to the end
of discovery. However, none of the facts of those cases are on point. See, e.g.,
FLOORgraphics, Inc. v. News A. Mktg. In-Store Servs., Inc., 2007 WL 1613217, at
*7 (D.N.J. 2007) (quashing Plaintiffs’ subpoenas where Plaintiffs were seeking
discovery outside the scope of that permitted in two of the Court’s previous orders
and the case was set for final resolution within weeks); Nowell v. Reilly, 437 F.
App’x 122, 125 (affirming denial of motion to compel as Plaintiff did not provide
Defendants with thirty days to answer interrogatories, and provided no proof that
“more diligent discovery was impossible”); McDonough v. Horizon Blue Cross Blue
Shield of N.J., Inc., 2011 WL 13238414, *1 (D.N.J. Nov. 7, 2011) (denying plaintiffs
request for production of documents because Defendants had already provided

them within their first production in a searchable format—which has not
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occurred here—and Plaintiffs only raised issues with the production after the
expiration of fact discovery).

These depositions are relevant and proportional to the needs of this case.
More importantly, given Engelhard/BASF’s failure to produce all insurance
materials and that both INA and Arrowood did not maintain complete files, the
information garnered from these depositions would not be duplicative. Plaintiffs are
entitled to these depositions in order to obtain discovery they should have been able
to receive from BASF.

CONCLUSION

Based upon the foregoing, Plaintiffs respectfully request that Your Honor

deny Defendants’ Motion for a Protective Order.

Respectfully Submitted,
COHEN, PLACITELLA & ROTH, P.C. FOX ROTHSCHILD LLP

/s/ Christopher M. Placitella Jeffrey M. Pollock, Esq.

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